Case 1:24-cr-00112-TFM       Doc# 194     Filed 10/03/24    Page 1 of 6     PageID# 1272




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ALABAMA
                            SOUTHERN DIVISION


  UNITED STATES OF AMERICA                  )
                                            )
  v.                                        )         CR - No.1:24-00112-TFM-N
                                            )
  EXAVIERIA DEAGNES MAXIE                   )


 ORDER ON ARRAIGNMENT AND PRELIMINARY SCHEDULING ORDER

      Defendant, Exavieria Deagnes Maxie, appeared in Court with appointed
counsel Maxine Walters. The United States was represented by Assistant United
States Attorneys George May and Justin Roller.

        PLEA. All Defendants entered a plea of NOT GUILTY. Counsel for each
defendant is requested to contact the U.S. Attorney immediately if the defendant
intends to engage in plea negotiations. If a defendant decides to change their plea,
counsel for that defendant shall provide notice of such intent1 no later than the
pretrial conference and the defendant will then be set for a change-of-plea hearing.
If a defendant files a Notice of Intent to Plead Guilty prior to the pretrial conference,
the Court will schedule a change-of-plea hearing based on the directions of the
district judge to which the case is assigned.

       TRIAL. This action is set for trial beginning March 31, 2025. Jury selection
is scheduled for March 24, 2025; however, the final jury selection and trial schedule
will be published by the presiding District Judge no later than the Wednesday prior
to the week of jury selection. A request to reschedule the trial term may be presented
in a joint motion if the parties agree that due to the nature of the case, more time is
needed for discovery and adequate preparation by defense counsel.




1 The Notice of Intent to Plead Guilty shall reflect the specific count(s) to which

Defendant will plea and whether this is a plea agreement.

                                                1
Case 1:24-cr-00112-TFM     Doc# 194    Filed 10/03/24   Page 2 of 6    PageID# 1273




      Motions to continue not raised prior to or during the Pretrial Conference are
waived except in those situations when events occurring after the Pretrial Conference
require an extension of the original period.

      Proposed VOIR DIRE questions, JURY INSTRUCTIONS, and any related
DISPUTES shall be submitted no later than one week before the date of jury
selection.

      DISCOVERY. Discovery in this action shall be conducted according to the
requirements of S.D. Ala. CrLR 16. If the United States has not provided the
information required by S.D. Ala. CrLR 16(b)(1) at the time of arraignment, a notice
shall be filed no later than October 15, 2024, which identifies the outstanding
discovery and provides the anticipated production date.

       EXPERT DISCLOSURES. Any expert disclosure required or contemplated by
Fed. R. Crim. P. 16, the Local Rules, or the Federal Rules of Evidence, must be
completed no later than December 2, 2024. All challenges to expert witnesses must
be filed no later than the pretrial motions deadline.

       In compliance with the Sullivan-Durbin Due Process Protections Act, the
United States is ordered to produce all exculpatory evidence to the defendant
pursuant to Brady v. Maryland, 373 U.S. 83, 83 S .Ct. 1194, 10 L. Ed. 2d 215 (1963),
and its progeny. Not doing so in a timely manner may result in sanctions, including
exclusion of evidence, adverse jury instructions, dismissal of charges and contempt
proceedings.

      JENCKS ACT STATEMENTS. The Government agrees to provide defense
counsel with all Jencks Act statements no later than the one week before the date
of jury selection.

       PRETRIAL MOTIONS. All pretrial motions under Fed. R. Crim. P. 12(b), 14
and 16 and all notices or demands under Fed. R. Crim. P. 12.1, 12.2, and 12.3, and
S.D. Ala. CrLR 12.5 (entrapment), and any motions to compel must be filed no later
than January 6, 2025. Pretrial motions filed after this date must contain an
explanation as to why they were not timely filed and will be considered only if good
cause for the tardy filing has been shown. Responses to any pretrial motions, and
notices and demands if appropriate, must be filed no later than January 27, 2025.
Hearings on pretrial motions will be held the week of February 3, 2025. Counsel
are reminded that they are to be available at any time during the week for
hearings on any motion.

                                           2
Case 1:24-cr-00112-TFM      Doc# 194     Filed 10/03/24   Page 3 of 6    PageID# 1274




     No other briefing or submissions addressing pretrial motions, notices, or
demands may be filed without leave of the Court for good cause shown.

        PRELIMINARY         SENTENCING         GUIDELINES         INFORMATION         &
PROBATION / STATUS OFFICE CONFERENCE. The United States Probation
Officer assigned to this case, Heath Impastato, is directed to prepare and file
preliminary guideline sentencing calculations based on the relevant information that
is available. The preliminary report is to be filed no later than SEVEN DAYS PRIOR
TO THE BELOW SCHEDULED CONFERENCE, so that the parties will have
sufficient time to review the report prior to the probation conference. The filing of
these preliminary calculations is solely for the purpose of providing the attorneys and
defendants with information that may be helpful in analyzing the possible
applications of the United States Sentencing Guidelines and in preparing the case for
trial or other resolution. Counsel shall be prepared to raise any questions or concerns
about the calculations during the status conference.

        The TELEPHONIC PROBATION OFFICE CONFERENCES will be set for
November 7, 2024 by separate order. Defense counsel, Defendant (if on bond), and
lead Assistant United States Attorney, are directed to participate at the probation
office conference. The attorneys are expected to have conferred with their clients and
to have thoroughly reviewed the preliminary report and discovery materials prior to
the probation office conference so as to foster meaningful discussions about the
ultimate disposition of the case. The probation office conference represents a critical
stage in the criminal proceedings; thus, participation by all attorneys is mandatory.
The date and time of the probation office conference can be modified only with the
consent of the assigned Probation Officer, and approval of the Magistrate Judge, but
in no event will the conference be conducted within seven days prior to the pretrial
conference.

       In those instances where a Notice of Intent to Plead Guilty is filed prior to the
probation office conference date, is not necessary for counsel or the Defendant to
appear for the probation office conference, provided defense counsel has also executed
and filed a Certification of Preliminary Guideline Calculations (Attachment 2) along
with a Notice of Intent to plead guilty.

      CASE STATUS CONFERENCES.               This action is scheduled for
TELEPHONIC CASE STATUS CONFERENCES with the undersigned
Magistrate Judge on December 6, 2024, at 10:00 a.m. (Central) and January 31,
2025, at 10:00 a.m. (Central). Call in number 571-353-2301, Guest ID#
002111802. An IN PERSON STATUS CONFERENCES with United States

                                             3
Case 1:24-cr-00112-TFM     Doc# 194     Filed 10/03/24   Page 4 of 6    PageID# 1275




District Judge Terry Moorer will be held on November 6, 2024, at 10:00 a.m.
(Central), and January 15, 2025, at 12:00 p.m. (Central) in Courtroom 3B.
Defense counsel, Defendant (if on bond), and lead Assistant United States Attorney,
are directed to participate at the case status conferences.

    ALL DEFENDANTS ON BOND SHALL APPEAR FOR THESE IN
PERSON CONFERENCES. THOSE DEFENDANTS IN CUSTODY WILL BE
PRODUCED BY THE MARSHAL.

       MANDATORY APPEARANCE OF COUNSEL. Counsel of record for all
parties are ORDERED to appear at all future Court proceedings in this criminal case.
Those attorneys who find it impossible to be in attendance (especially at the pretrial
conference, jury selection, or trial) must make arrangements to have substitute
counsel appear on behalf of their clients. Any attorney who appears as substitute
counsel for a defendant shall have full authorization from the defendant to act on his
or her behalf and be fully prepared to proceed. Substitute counsel shall not serve as
counsel for a co-defendant unless permitted by the Court after proper motion.

      LOCAL RULES. All parties are reminded that the Local Rules and Standing
Orders of the Southern District of Alabama contain important requirements
concerning discovery, representation of defendants, and other matters. They are
reprinted in ALABAMA RULES OF COURT (West Publishing Co.) and ALABAMA
RULES ANNOTATED (The Michie Co.), and posted on the Court’s website,
https://www.alsd.uscourts.gov. Since they are amended from time to time, the
most current version may be the version posted by the Clerk of Court.

       DISCLOSURE STATEMENTS. If a party is required to file a disclosure
statement pursuant to Rule 12.4, Fed. R. Crim. P. and S.D. Ala. CrLR 12.4, the
statement or statements shall be filed no later than 14-days from the date of this
order.




      DONE and ORDERED this the 1st day of October, 2024.

                                       s/KATHERINE P. NELSON
                                       UNITED STATES MAGISTRATE JUDGE




                                            4
Case 1:24-cr-00112-TFM    Doc# 194    Filed 10/03/24   Page 5 of 6   PageID# 1276




                             ATTACHMENT 1
                   IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION



 UNITED STATES OF AMERICA               )
                                        )
 v.                                     )         CR - No.1:24-00112-TFM-N
                                        )
                                        )
                                        )
                                        )
       Defendant.                       )


       CERTIFICATION REGARDING THE PRELIMINARY GUIDELINE
           CALCULATIONS OF THE PROBATION OFFICER

       The Court, during the arraignment hearing, directed the United States
 Probation Officer to prepare preliminary calculations, consistent with United
 States Sentencing Guidelines, as an aide to the parties’ efforts to determine
 the range of possible sentences that could be imposed should the Defendant be
 found guilty on any pending charge. It was intended that the Court, the
 Defendant, Defendant’s attorney and the Assistant United States Attorney,
 would have had an opportunity to examine the report on preliminary
 calculations prior to the pretrial conference. It was also recognized that the
 calculations would be based on the Probation Officer’s review of the relevant
 information available to the Probation Officer at the time his report is
 completed and filed.

 The Probation Officer in this action has completed the preliminary guideline
 calculations and they have been shared with the parties. After receipt and
 review of these preliminary calculations, counsel certifies to the following:
        1. A copy of the Probation Officer’s report containing the preliminary
 guideline calculations has been shown to the Defendant and we discussed the
 guideline calculations contained in the report;
        2. I have provided the Defendant with an independent assessment of
 the preliminary guideline calculations contained in the report;


                                            5
Case 1:24-cr-00112-TFM     Doc# 194    Filed 10/03/24    Page 6 of 6    PageID# 1277




        3. The Defendant has been given an opportunity to ask questions
 regarding the preliminary guideline calculations and I have responded to those
 questions; and
        4. The Defendant was advised that the preliminary guideline
 calculations contained in the report are based on the Probation Officer’s review
 of the relevant information available to him/her at the time the report was
 completed and filed, and that the United States Sentencing Guidelines are
 advisory and do not bind the Court. Furthermore, the Defendant was also
 advised that the preliminary guideline calculations might be different from the
 final calculations in the event he/she is found guilty on any pending charge and
 a presentencing report is ordered.




 I certify under the penalty of perjury that the foregoing is true and correct on this
 the ________ day of ______________, 2024.




                                   ______________________________________
                                 Attorney’s Signature


                                  _______________________________________
                                 Attorney’s Name Printed

                                 Attorney for Defendant_______________________




                                            6
